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 1   H. Ty Kharazi, Esq. SBN 187894
     YARRA LAW GROUP
 2   2000 Fresno Street, Suite 300
     Fresno, CA 93721
     Telephone: (559) 441-1214
 3   Facsimile: (559) 441-1215

 4   Attorneys for Defendant,
     YOUSEF NAZEM ALNAJAR
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 7                               IN THE UNITED STATES DISTRICT COURT

 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,                          Case No. 1:18-CR-00135-DAD-BAM

                    Plaintiff,                          DEFENDANT YOUSEF NAZEM
10                                                      ALNAJAR’S REQUEST TO EXONERATE
            vs.                                         BOND; ORDER.
11

12   YOUSEF NAZEM ALNAJAR
                                                        Judge: Hon. Dale A. Drozd
13                  Defendant.

14

15          Defendant, YOUSEF NAZEM ALNAJAR hereby requests that the bail be exonerated

16   pursuant to Rule 46(g) of the Federal Rules of Criminal Procedure because he has surrendered to

17   the United States Marshall Office to serve his sentence on August 5, 2020.

18          On August 9, 2018, pursuant to the Court’s Order Setting Conditions of Release, Defendant

19   YOUSEF NAZEM ALNAJAR was ordered to post a $100,000 property bond with the Clerk’s

20   Office to permit his release.

21          On August 10, 2018, Defendant’s grandfather, Mr. Saleh Ahmed Alnajar posted a property

22   bond on Defendant’s behalf. An original Deed of Trust (Document # 218097323) and Straight Note

23   was received by the Clerk’s office on said date. [Docket No.: 40 and 46].

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 1       On June 10, 2020, the above matter came before this Court for judgment and sentencing, at

 2   which time Defendant was sentenced. On August 5, 2020, Defendant surrendered to the United

 3   States Marshal to begin his term of imprisonment of 13 months.

 4      Sentencing having been imposed, it is respectfully requested that bail posted in this action be

 5   exonerated and that the Deeds of Trust posted as security by Mr. Saleh Ahmed Alnajar be

 6   reconveyed.

 7   Dated: August 10, 2020.                      Respectfully submitted,

 8                                                YARRA LAW GROUP

 9                                                /s/ H. Ty Kharazi
                                                  H. Ty Kharazi, Attorney for Defendant,
10                                                Yousef Nazem Alnajar

11
                                                  ORDER
12

13      IT IS HEREBY ORDERED that, sentencing in the above captioned matter having been

14   imposed, bail is hereby exonerated and the Deeds of Trust posted as security for Defendant,

15   YOUSEF NAZEM ALNAJAR, reflected as Docket Entries 40 and 46, shall be reconveyed.

16
     IT IS SO ORDERED.
17
        Dated:     August 11, 2020
18                                                      UNITED STATES DISTRICT JUDGE

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